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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   8:14CB2
       vs.                                         Violation Number 3159281 NE6

                                                                  ORDER
LINDA S. LICHTENWALTER,

                      Defendant.


              On the motion of the United States Attorney=s Office (Filing No. 20), the above-

referenced matter is hereby dismissed without prejudice.


              ORDERED this 20th day of March, 2014.


                                            BY THE COURT:


                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
